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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

CONSUMER FINANCIAL PROTECTION
BUREAU,

                      Plaintiff,
                                                   C.A. No. 17-1323-MN
               v.

THE NATIONAL COLLEGIATE STUDENT
LOAN MASTER TRUST, et al.

                      Defendant.



   DECLARATION OF STEPHEN B. BRAUERMAN CONCERNING DOCUMENTS
     DESIGNATED CONFIDENTIAL BY WILMINGTON TRUST COMPANY

       I, Stephen B. Brauerman, declare as follows:

       1.      I am a director at the law firm of Bayard, P.A., counsel to intervenor Wilmington

Trust Company (“WTC”).

       2.      I have reviewed the redacted portions of Intervenors’ Opening Brief in Support

of Their Motion to Dismiss Under Fed. R. Civ. P. 12(b)(6) and 12(b)(1) (“Intervenors’ Opening

Brief”) and the accompanying exhibits to the Declaration of Erik Haas (“Haas Declaration”),

filed on July 10, 2020. (D.I. 309-310.)

       3.      The portions of the Intervenors’ Opening Brief and Exhibits 3 and 4 to the Haas

Declaration that were redacted or withheld from the publicly filed version on the grounds that

they were drawn from documents designated confidential by WTC contain information that is

Protected Material under the Stipulated Protective Order entered by the Court on March 7, 2019

(the “Protective Order”).




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       4.      Exhibits 3 and 4 to the Haas Declaration are Protected Material under the

Protective Order because they contain confidential commercial information, including

information concerning the terms of securitization transactions deemed confidential by the

parties to these transactions and in the marketplace generally because these transactions, unlike

many of the defendant National Collegiate Student Loan Trusts, are private transactions.

       5.      Exhibits 3 and 4 to the Haas Declaration were properly designated confidential

pursuant to the terms of the Protective Order. For the reasons stated above, continuation of the

seal on these exhibits is appropriate.

       6.      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the

foregoing is true and correct.




Executed on July 27, 2020                                   /s/ Stephen B. Brauerman
                                                            Stephen B. Brauerman




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